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             Case MDL No. 2841 Document 64 Filed 03/31/20 Page 1 of 2

                                     UNITED STATES JUDICIAL PANEL                                    FILED
                                                  on
                                      MULTIDISTRICT LITIGATION
                                                                                                  MAR 31     ZOZO

                                                                                                            $STRICT CLERK

    IN RE: MONAT HAIR CARE PRODUCTS
    MARKETING, SALES PRACTICES AND
    PRODUCTS LIABILITY LITIGATION
                                                                                                 -TY
                                                                                              CLRI
                                                                                            WESTERIZTICT OF TEXAS


                                                                                                  (3            No. 2841



                                            (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO                          4)

    On June 6, 2018, the Panel transferred 2 civil action(s) to the United States District Court for the
    Southern District of Florida for coordinated or consolidated pretrial proceedings pursuant to 28
    U.S.C. § 1407. See 325 F.Supp.3d 1364 (J.P.M.L. 2018). Since that time, 3 additional action(s) have
    been transferred to the Southern District of Florida. With the consent of that court, all such actions
    have been assigned to the Honorable Darrin P. Gayles.

    It appears that the action(s) on this conditional transfer order involve questions of fact that are
    common to the actions previously transferred to the Southern District of Florida and assigned to
    Judge Gayles.

    Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
    Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
    Southern District of Florida for the reasons stated in the order of June 6, 2018, and, with the consent
    of that court, assigned to the Honorable Darrin P. Gayles.
    This order does not become effective until it is filed in the Office of the Clerk of the United States
    District Court for the Southern District of Florida. The transmittal of this order to said Clerk shall be
    stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
    Panel within this 7day period, the stay will be continued until further order of the Panel.



                            Inasmuch as no objection is    FOR THE PANEL:
                            pending at this time, the
                            stay is lifted.

                              Mar      31,     2020
                                 CLERK'S OFFICE            John W. Nichols
                                    UNITED STATES
                                  JUDICIAL PANEL ON
                               MIJLTIDISTRICT LITIGATION   Clerk of the Panel
                                                                             Cenifiedto bes true and
                                                                        correct copy of tire dxomentorrte
                                                                             Angels E. Noble, Cievl,
                                                                               US Olstrictour1
                                                                           Southarn   Diritct ot Florida
                                                                                  Maria Cruz

                                                                             Mar 31.
          Case 5:20-cv-00292-DAE Document 6 Filed 03/31/20 Page 2 of 3


Case 1:18-md-02841-DPG Document 178 Entered on FLSD Docket 03/31/2020 Page 2 of 2
             Case MDL No. 2841 Document 64 Filed 03/31/20 Page 2 of 2



     IN RE: MONAT HAIR CARE PRODUCTS
     MARKETING, SALES PRACTICES AND
     PRODUCTS LIABILITY LITIGATION                                    MDL No. 2841



                       SCHEDULE CTO-4     TAGALONG ACTIONS




    TEXAS WESTERN

       TXW       5       20-00292     Roberts v. Monat Global Corp.
                Case 5:20-cv-00292-DAE Document 6 Filed 03/31/20 Page 3 of 3




                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

ANGELA E. NOBLE
Court Administrator   Clerk of Court




                                                                                                Mar 31, 2020




 United States District Court

   Western District of Texas




 RE:      MDL No.              1:18-md-02841-DPG IN RE: Monat Hair Care Products Marketing, Sales Practices

         Our Case No.          1:18-md-02841-GAYLES

         Your Case No. 5:20-00292 Roberts v. Monat Global Corp.


Dear Clerk:

Attached is a certified copy of the order from the Judicial Panel on Multidistrict Litigation (MDL
Panel) transferring the above entitled action to the Southern District of Florida. This case will be
directly assigned to the Honorable Darrin P. Gayles

Please proceed    to close the case(s) in your district and initiate the civil case transfer functionality
in CM/ECF. We will initiate the procedure to retrieve the transferred cases(s) upon receipt of the
e-mail. If your court does not utilize the CM/ECF transfer functionality, please forward the court
file (including originating Complaint or Notice of Removal, any amendments, docket sheet, and
MDL Conditional Transfer Order-                   ) as PDF documents to the Southern District of
Florida via electronic mail at: mdl@flsd.uscourts.gov.



ANGELA     E.   NOBLE
Clerk of Court



By: s/Maria Cruz
     MDL Clerk


End.

  Ji00 N. Miami Avenue   [399 E.   Broward Boulevard   0701 Clematis Street      0301 Simonton Street    1300 S.   Sixth Street
       Room 8N09                   Room 108                  Room 202                  Room 130         Ft. Pierce, FL 34950
     Miami, FL 33128        Ft. Lauderdale, FL 33301   W. Palm Beach, FL 33401     Key West, FL 33040       772-595-9691
       305-523-5100               954-769-5400              561-803-3400             305-295-8100
